      Case 15-14980-pmm                        Doc 162          Filed 02/23/22 Entered 02/23/22 11:46:14                        Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
     Debtor 1              LISA KOCHEL


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          15-14980-PMM




Form 4100N
Notice of Final Cure Payment                                                                                                            10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 SANTANDER BANK NA                                                          2

 Last 4 digits of any number you use to identify the debtor's account                         1   1   6   1

 Property Address:                              268 COLORADO DRIVE
                                                BIRDSBORO, PA 19508




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $     13,603.98

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $     13,603.98

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):               (c)   $        3,721.62

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)                (d)   $        3,721.62
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $             -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $             -0-

     g. Total. Add lines b, d, and f.                                                                                 (g)   $     17,325.60



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


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Debtor 1     LISA KOCHEL                                                      Case number   (if known)   15-14980-PMM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date    02/23/2022


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




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Debtor 1     LISA KOCHEL                                                Case number   (if known)   15-14980-PMM
             Name




History Of Payments
Part 2 - B
Claim ID Name                  Creditor Type               Date         Check # Posting Description                   Amount
2        SANTANDER BANK NA     Pre-Petition Arrears        10/21/2016   1027064 Disbursement To Creditor/Principal     443.51
2        SANTANDER BANK NA     Pre-Petition Arrears        12/20/2016   1029678 Disbursement To Creditor/Principal     285.73
2        SANTANDER BANK NA     Pre-Petition Arrears        01/20/2017   1030957 Disbursement To Creditor/Principal     285.73
2        SANTANDER BANK NA     Pre-Petition Arrears        02/17/2017   1032276 Disbursement To Creditor/Principal     321.45
2        SANTANDER BANK NA     Pre-Petition Arrears        03/24/2017   1033711 Disbursement To Creditor/Principal     321.45
2        SANTANDER BANK NA     Pre-Petition Arrears        08/18/2017   1040088 Disbursement To Creditor/Principal      24.14
2        SANTANDER BANK NA     Pre-Petition Arrears        02/16/2018   1047883 Disbursement To Creditor/Principal     110.68
2        SANTANDER BANK NA     Pre-Petition Arrears        04/20/2018   1050533 Disbursement To Creditor/Principal     641.41
2        SANTANDER BANK NA     Pre-Petition Arrears        11/20/2018   1059387 Disbursement To Creditor/Principal 1,958.13
2        SANTANDER BANK NA     Pre-Petition Arrears        12/14/2018   1060609 Disbursement To Creditor/Principal     326.35
2        SANTANDER BANK NA     Pre-Petition Arrears        03/15/2019   1103793 Disbursement To Creditor/Principal     128.09
2        SANTANDER BANK NA     Pre-Petition Arrears        06/21/2019   11508452Disbursement To Creditor/Principal     317.88
2        SANTANDER BANK NA     Pre-Petition Arrears        07/19/2019   11509857Disbursement To Creditor/Principal     317.88
2        SANTANDER BANK NA     Pre-Petition Arrears        08/15/2019   11511256 Disbursement To Creditor/Principal    635.76
2        SANTANDER BANK NA     Pre-Petition Arrears        12/20/2019   17194641Disbursement To Creditor/Principal     644.94
2        SANTANDER BANK NA     Pre-Petition Arrears        01/24/2020   17196352Disbursement To Creditor/Principal     967.41
2        SANTANDER BANK NA     Pre-Petition Arrears        03/20/2020   17199301Disbursement To Creditor/Principal     644.94
2        SANTANDER BANK NA     Pre-Petition Arrears        04/07/2020   17194641Cancelled Check To Creditor/Principal-644.94
2        SANTANDER BANK NA     Pre-Petition Arrears        04/17/2020   17200898Disbursement To Creditor/Principal     644.94
2        SANTANDER BANK NA     Pre-Petition Arrears        07/17/2020   17205069Disbursement To Creditor/Principal      47.09
2        SANTANDER BANK NA     Pre-Petition Arrears        08/21/2020   17206484Disbursement To Creditor/Principal     317.88
2        SANTANDER BANK NA     Pre-Petition Arrears        12/21/2020   17211699Disbursement To Creditor/Principal 1,970.84
2        SANTANDER BANK NA     Pre-Petition Arrears        03/19/2021   17215467Disbursement To Creditor/Principal     328.47
2        SANTANDER BANK NA     Pre-Petition Arrears        06/25/2021   17218834Disbursement To Creditor/Principal     317.88
2        SANTANDER BANK NA     Pre-Petition Arrears        07/23/2021   17219876Disbursement To Creditor/Principal 1,271.51
2        SANTANDER BANK NA     Pre-Petition Arrears        10/22/2021   17222917Disbursement To Creditor/Principal     974.83
                                                                                      Total for Part 2 - B:         13,603.98

Part 2 - D
Claim ID Name                  Creditor Type               Date         Check # Posting Description                  Amount
2        SANTANDER BANK NA     Post Petition Arrears       10/21/2016   1027064 Disbursement To Creditor/Principal    121.49
2        SANTANDER BANK NA     Post Petition Arrears       12/20/2016   1029678 Disbursement To Creditor/Principal     78.27
2        SANTANDER BANK NA     Post Petition Arrears       01/20/2017   1030957 Disbursement To Creditor/Principal     78.27
2        SANTANDER BANK NA     Post Petition Arrears       02/17/2017   1032276 Disbursement To Creditor/Principal     88.05
2        SANTANDER BANK NA     Post Petition Arrears       03/24/2017   1033711 Disbursement To Creditor/Principal     88.05
2        SANTANDER BANK NA     Post Petition Arrears       02/16/2018   1047883 Disbursement To Creditor/Principal     30.33
2        SANTANDER BANK NA     Post Petition Arrears       04/20/2018   1050533 Disbursement To Creditor/Principal    175.79
2        SANTANDER BANK NA     Post Petition Arrears       11/20/2018   1059387 Disbursement To Creditor/Principal    536.67
2        SANTANDER BANK NA     Post Petition Arrears       12/14/2018   1060609 Disbursement To Creditor/Principal     89.45
2        SANTANDER BANK NA     Post Petition Arrears       03/15/2019   1103793 Disbursement To Creditor/Principal     35.11
2        SANTANDER BANK NA     Post Petition Arrears       06/21/2019   11508452Disbursement To Creditor/Principal     87.12
2        SANTANDER BANK NA     Post Petition Arrears       07/19/2019   11509857Disbursement To Creditor/Principal     87.12
2        SANTANDER BANK NA     Post Petition Arrears       08/15/2019   11511256 Disbursement To Creditor/Principal   174.24
2        SANTANDER BANK NA     Post Petition Arrears       12/20/2019   17194641Disbursement To Creditor/Principal    176.76
2        SANTANDER BANK NA     Post Petition Arrears       01/24/2020   17196352Disbursement To Creditor/Principal    265.14
2        SANTANDER BANK NA     Post Petition Arrears       03/20/2020   17199302Disbursement To Creditor/Principal    176.76
2        SANTANDER BANK NA     Post Petition Arrears       04/07/2020   17194641Cancelled Check To Creditor/Principal-176.76
2        SANTANDER BANK NA     Post Petition Arrears       04/17/2020   17200899Disbursement To Creditor/Principal    176.76
2        SANTANDER BANK NA     Post Petition Arrears       08/21/2020   17206485Disbursement To Creditor/Principal    100.03
2        SANTANDER BANK NA     Post Petition Arrears       12/21/2020   17211700Disbursement To Creditor/Principal    540.16
2        SANTANDER BANK NA     Post Petition Arrears       03/19/2021   17215468Disbursement To Creditor/Principal     90.03
2        SANTANDER BANK NA     Post Petition Arrears       06/25/2021   17218835Disbursement To Creditor/Principal     87.12
2        SANTANDER BANK NA     Post Petition Arrears       07/23/2021   17219877Disbursement To Creditor/Principal    348.49
2        SANTANDER BANK NA     Post Petition Arrears       10/22/2021   17222918Disbursement To Creditor/Principal    267.17
                                                                                      Total for Part 2 - D:         3,721.62




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